          Case 5:17-cv-00129-F Document 13 Filed 07/17/17 Page 1 of 2



                  IN THE UNITED STATES DISTRICT COURT
                FOR THE WESTERN DISTRICT OF OKLAHOMA

1.     BRANDON FORSHEE,                           )
                                                  )
                     Plaintiff,                   )
v.                                                )      CIV-17-129-F
                                                  )
1.     TINKER FEDERAL CREDIT                      )
       UNION,                                     )
                                                  )      ATTORNEY LIEN CLAIMED
                     Defendant.                   )      JURY TRIAL DEMANDED

            JOINT STIPULATION OF DISMISSAL WITH PREJUDICE

       Pursuant to Fed.R.Civ.P. 41 (a)(1)(A)(ii) of the Federal Rules of Civil Procedure, the

Plaintiff, Brandon Forshee, hereby stipulates with the Defendant, Tinker Federal Credit

Union, that his claims in the above styled and numbered action shall be dismissed with

prejudice. The parties shall bear their own costs and attorney fees.

       RESPECTFULLY SUBMITTED THIS 17th DAY OF JULY, 2017.

                                                  s/ Lauren W. Johnston
                                                  JANA B. LEONARD, OBA #17844
                                                  LAUREN W. JOHNSTON, OBA #22341
                                                  LEONARD & ASSOCIATES, P.L.L.C.
                                                  8265 S. Walker
                                                  Oklahoma City, Oklahoma 73139
                                                  (405) 239-3800 (telephone)
                                                  (405) 239-3801 (facsimile)
                                                  leonardjb@leonardlaw.net
                                                  johnstonlw@leonardlaw.net
                                                  Counsel for Plaintiff




                                             1
Case 5:17-cv-00129-F Document 13 Filed 07/17/17 Page 2 of 2



                                  s/ Byrona J. Maule
                                 (Signed with permission)
                                 Byrona J. Maule, OBA #16159
                                 PHILLIPS MURRAH, P.C.
                                 Corporate Tower, Thirteenth Floor
                                 101 North Robinson
                                 Oklahoma City, Oklahoma 73102
                                 Tele: 405-235-4100
                                 Fax: 405-235-4133
                                 bjmaule@phillipsmurrah.com
                                 Counsel for Defendant




                             2
